Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 1 of 30 PageID: 13




    EXHIBIT “A”
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 2 of 30 PageID: 14
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 3 of 30 PageID: 15
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 4 of 30 PageID: 16
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 5 of 30 PageID: 17
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 6 of 30 PageID: 18
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 7 of 30 PageID: 19
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 8 of 30 PageID: 20
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 9 of 30 PageID: 21
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 10 of 30 PageID: 22
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 11 of 30 PageID: 23
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 12 of 30 PageID: 24
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 13 of 30 PageID: 25
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 14 of 30 PageID: 26
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 15 of 30 PageID: 27
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 16 of 30 PageID: 28
                                  Stevens Institute of Technology
                                         STATEMENT OF WORK
                    Research for the Commercialization of the Passive Acoustic
                              Underwater Intruder Detection System


 Title of Proposal:              Research for the Commercialization of the Passive Acoustic
                                 Underwater Intruder Detection System

 Submitted to:                   iModalGround, LLC

 Submitted by:                   The Trustees of Stevens Institute of Technology


 TIN:                            XX-XXXXXXX

 DUNS:                           064271570
 Institutional Address:          The Trustees of the Stevens Institute of Technology
                                 One Castle Point on Hudson
                                 Hoboken, New Jersey 07030
 Telephone:                      201-216-5000
 Fax Number:                     201-216-5537

 Principal Investigator:         Hady Salloum, PhD
 Title:                          Research Professor and Director,
                                 Sensor Technology and Applied Research (STAR) Center
                                 Director, DHS National Center for Maritime Security (MSC)
 School:                         Schaefer School of Engineering & Science
 Department:                     Electrical and Computer Engineering
 Campus Address:                 Babbio Center, 6th Floor
                                 Hoboken, New Jersey 07030
 Telephone:                      201-216-8575

 Amount Requested:               $3,300,000
 Proposed Start Date:            October 1, 2020
 Proposed End Date:              March 31, 2022




 SIT_IMG_SR Agmt SOW_2020 0923_v5 docx                                                       1 of 11
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 17 of 30 PageID: 29
                                  Stevens Institute of Technology
                                         STATEMENT OF WORK
                   Research for the Commercialization of the Passive Acoustic
                             Underwater Intruder Detection System


                                         - - - EXHIBIT A - - -



                                   STATEMENT OF WORK
                                                  for

        Research for the Commercialization of the Passive Acoustic

                        Underwater Intruder Detection System
                                Sponsored Research Agreement

                      The Trustees of Stevens Institute of Technology




 SIT_IMG_SR Agmt SOW_2020 0923_v5 docx                                          2 of 11
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 18 of 30 PageID: 30
                                                Stevens Institute of Technology
                                                      STATEMENT OF WORK
                            Research for the Commercialization of the Passive Acoustic
                                      Underwater Intruder Detection System

                                                       TABLE of CONTENTS


 1       BACKGROUND .......................................................................................................................... 4
      1.1   PROJECT OBJECTIVES .......................................................................................................... 4
 1.      PROJECT CONTEXT.................................................................................................................. 5
      1.2   PRIOR WORK ........................................................................................................................ 5
 2       DESCRIPTION / TECHNICAL APPROACH ............................................................................... 5
      2.1   TASK 1 – BETA PROTOTYPE SPADES DEVELOPMENT ........................................................... 5
      2.2   TASK 2 – BETA TEST & EVALUATION ..................................................................................... 6
      2.3   TASK 3 – CLASSIFICATION MODEL DEVELOPMENT ................................................................. 6
      2.4   TASK 4 – DATA MANAGEMENT AND INTEGRATION PLAN ......................................................... 6
      2.5   TASK 5 – PRE-PRODUCTION SENSOR & EVALUATION ............................................................. 7
 3       DELIVERABLES ......................................................................................................................... 7
      3.1    PROJECT DELIVERABLES ...................................................................................................... 7
      3.2    PERIOD PERFORMANCE ......................................................................................................... 7
 4       COST ESTIMATE........................................................................................................................ 7
      4.1   BUDGET OVERVIEW ............................................................................................................... 7
      4.2   BUDGET JUSTIFICATIONS....................................................................................................... 8
 5        RESEARCH TEAM QUALIFICATIONS ...................................................................................... 8
 6        EQUIPMENT AND FACILITIES………………………………………………………………………9
 7        ASSUMPTIONS AND CONSTRAINTS..................................................................................... 10




 SIT_IMG_SR Agmt SOW_2020 0923_v5 docx                                                                                                  3 of 11
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 19 of 30 PageID: 31
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 20 of 30 PageID: 32
                                   Stevens Institute of Technology
                                         STATEMENT OF WORK
                    Research for the Commercialization of the Passive Acoustic
                               Underwater Intruder Detection System
 (1)   Develop a robust, environmentally hardened, manufacturable, underwater acoustic sensor
       system that can detect, monitor, and classify possible intruders on the public waterways (ocean,
       rivers, lakes),
 (2)   Develop acoustic classification algorithms to detect waterborne activity on and under the
       surface, including commercial and recreation traffic (powered and non-powered), and
 (3)   Integrate data from the acoustic sensors and classification algorithms into field communications
       equipment and databases to facilitate real-time alerting capabilities.


 1. PROJECT CONTEXT
 The next phase of development includes building a beta version of a system with three sensor arrays
 and performing system testing and deployment performed in a safe, controlled environment (i.e., lower
 utilized river). With the phase after that being the build of preproduction units for deployment in
 additional test environments to ensure reliable device configuration is obtained and utilized for reliable
 deployments and operations.
 West Virginia University, in cooperation with Inter-Modal Holding and iModalGround, LLC, is
 developing a Marine Research Center that includes a marine test environment on the Lower
 Monongahela River (Lower Mon) in north central West Virginia, including a Lock & Dam environment
 on the Monongahela River in Morgantown, WV. The Lower Mon can serve as a controlled, marine
 environment for the next level of testing of the underwater acoustic detection sensor system which
 needs to be qualified for US Navy and US Coast Guard considerations.

 1.2    PRIOR WORK
 From 2003-2013, Stevens Institute of Technology, developed and patented, Patent #US 8195409, a
 prototype underwater acoustic system for intruder and threat detection, characterization and
 classification of particular interest of the marine industry for safety, security and classification of
 vessels, boats, and swimmers in/around marine assets (ports, terminals, waterways, etc.) and dubbed
 the Stevens Passive Acoustic Detection System (SPADES). The USPTO awarded the patent on June
 5, 2012 with The Trustees of the Stevens Institute of Technology named as the patent’s Assignee.
 Initial testing of SPADES has been performed in the United States, the UK, and the Netherlands and
 included underwater acoustic detection of divers and underwater unmanned vehicles, and surface
 boat tests of many different marine vessel types, including jet skis, pleasure vessels, pangas, GoFast,
 and electric boats.
 This patent was licensed by the Trustees of Stevens Institute of Technology in 2012 to Sonardyne
 International LTD. However, that license was rescinded in 2018 since the licensee was unable to
 meet the agreement’s manufacturing and commercialization milestones within the defined time.
 Therefore, SIT plans to undertake the commercialization of this sensor by moving to the next phase
 of development, a beta version, that is tested to support both blue waters (oceans) and brown waters
 (riverways) with the oversight of the intended customer.


 2     DESCRIPTION / TECHNICAL APPROACH

 2.1    TASK 1 – BETA PROTOTYPE SPADES DEVELOPMENT
 The objective of Task 1 is to build beta prototypes of SPADES sensor system that include 3 sensor
 arrays, based on the lessons learned from the previously investigated alpha prototype unit. The team
 SIT_IMG_SR Agmt SOW_2020 0923_v5 docx                                                              5 of 11
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 21 of 30 PageID: 33
                                  Stevens Institute of Technology
                                         STATEMENT OF WORK
                    Research for the Commercialization of the Passive Acoustic
                                Underwater Intruder Detection System
 will design the hardware configuration and software systems for data acquisition and processing.
 Hardware includes design and development of sensor array housing, mountings, deployment, or other
 operational accessory needs. Software includes scripts to store data from the sensor into text files or
 similar, to process the data for extraction of acoustic signatures, direction finding, and target
 localization using fusion of multi-sensor data.
 At the conclusion of Task 1, the team will prepare the sensor system component specifications and
 final site testing plans that detail sensor configuration parameters and their ranges for field testing.

 2.2   TASK 2 – BETA TEST & EVALUATION
 The objective of Task 2 is to deploy the beta SPADES acoustic sensors systems developed in Task 1
 to the Lower Monongahela River test site(s) for performance evaluation, parameter configuration, and
 preliminary data collection. The team will test each sensor array separately and in a multi-sensor
 configuration at two locations: (1) upriver from the Lock & Dam, and (2) down river from the Lock &
 Dam located in Morgantown, WV. The test area on the Lower Monongahela River has been selected
 as a controlled environment on the inland waterway system and provides safe and unobtrusive access
 for sensor deployment and testing in a brown water environment. Following this test and additional
 down river site, with a variety of marine traffic will be utilized for additional system validation and
 verification tests.
 The team will deploy each beta sensor array in series at both test sites to enable direct comparison of
 data and results for each sensor. Arrays will be deployed during day-time hours for three one-week
 periods. After each day of data collection, the team will evaluate the quality of the data and fine-tune
 hardware and software systems. This includes determining ideal installation configuration parameters
 such as (1) the location of sensor array deployment, (2) the distance of the array from the marine
 channel. In the post processing of the recorded signal, ideal software configurations including
 frequency and sensitivity settings will be defined as appropriate for each sensor array and the system
 with 3 arrays. A minimum data collection period of 1 week will be carried out at each site for Task 2.
 At the conclusion of Task 2, the team will detail the final sensor system configuration including
 component specifications, data output format, and parameter settings for best field operations.

 2.3   TASK 3 – CLASSIFICATION MODEL DEVELOPMENT
 The objective of Task 3 is to design the architecture for classification models to predict / determine
 vessel (powered and non-powered) classifications from data gathered by the sensor system. This
 includes (1) model selection, estimation, and validation, (2) data analysis, and (3) additional data
 collection with the sensor system. First, the team will develop a multi-sensor data fusion, feature
 extraction, and vessel acoustic classification prediction model based on supervised machine learning.
 At the conclusion of Task 3, the team will outline an architecture for vessel classification prediction
 from the sensor system, present model accuracy, and create code to implement the trained model.

 2.4   TASK 4 – DATA MANAGEMENT AND INTEGRATION PLAN
 The objective of Task 4 is to detail data management and integration plans through coordination with
 the WV University (WVU) and IMG research teams. This includes creation of a Data Management
 Plan that can be integrated with the WVU data management plan for MMODAL for the (a) sensor data
 outputs and (b) classification model inputs/outputs and algorithms. The research team will work with
 WVU to specify element sets, real-time (or near real-time) data transfer protocols, and other data
 standards. Additionally, the research team will coordinate with IMG to integrate the sensor system with
 the communications system for near real-time data transmissions. The research team will be
 SIT_IMG_SR Agmt SOW_2020 0923_v5 docx                                                            6 of 11
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 22 of 30 PageID: 34
                                   Stevens Institute of Technology
                                         STATEMENT OF WORK
                      Research for the Commercialization of the Passive Acoustic
                                  Underwater Intruder Detection System
 responsible for generating data transfer code/scripts in agreement with the established data
 management plan. It is anticipated that data from the acoustic system will be sent to MMODAL where
 it will then be input to the vessel classification prediction models running as MMODAL data processing
 tasks. At the conclusion of Task 4, the research team will produce a Data Management Plan and a
 data communication plan.

 2.5    TASK 5 – PRE-PRODUCTION SENSOR & EVALUATION
 The objective of Task 5 is to complete building or rebuilding of the beta prototype for at least three
 pre-production acoustic sensor arrays based on the lessons learned as a result of beta prototype tests
 and evaluation. The team will design / modify the hardware, software, scripts, configurations, etc.
 based on the results determined during Task 1 - Task 4 beta system development and evaluation.
 During the two-month evaluation and observation phase, the research team will assess the acoustic
 sensor system for resiliency to environmental, power, and usage conditions, monitor communications,
 and assess model performance. The research team will work with WVU and IMG to develop a plan
 for observing and altering the sensor system when performance improvements are needed. This may
 include manual or video verification of model predictions requiring travel to the sites. At the conclusion
 of Task 5, the research team will prepare weekly reports on in-situ sensor performance.
 At the conclusion of Task 5, the team will adjust the sensor system component specifications and final
 site testing plans that detail sensor configuration parameters and their ranges for field testing.


 3     DELIVERABLES

 3.1    PROJECT DELIVERABLES
 As an end result, SIT will provide the Sponsor with a total of three underwater pre-production worthy
 sensor arrays to be tested in at least three different marine locations with data collected and provided
 to SIT.

 3.2    PERIOD PERFORMANCE
 The period of performance would be eighteen (18) months with the contract to start October 1, 2020
 and end March 31, 2022.


 4     COST ESTIMATE
 The private Sponsor will pay Three Million Three Hundred Thousand and No/100 Dollars
 ($3,300,000) towards the University’s sponsored research program for the development of three
 (3) pre-production underwater acoustic detection sensor systems.

 4.1    BUDGET OVERVIEW
 The budget is broken down into the following categories:
 Labor Costs                     $1,901,241
 Parts and Supplies              $168,237
 Travel                          $45,600
 Outside Services                $10,000


 SIT_IMG_SR Agmt SOW_2020 0923_v5 docx                                                              7 of 11
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 23 of 30 PageID: 35
                                  Stevens Institute of Technology
                                         STATEMENT OF WORK
                   Research for the Commercialization of the Passive Acoustic
                             Underwater Intruder Detection System
 Boat Rental                  $12,000
 Shipping Costs                  $3,000
 Indirect Costs                  $1,159,922
 Total                           $3,300,000

 4.2     BUDGET JUSTIFICATIONS
 See attached.


 5     RESEARCH TEAM QUALIFICATIONS
 Stevens Institute of Technology has been conducting research and education activities related to
 passive acoustic waterborne and airborne target detection and signal processing for more than
 15 years. Since it was founded more than 145 years ago, technological innovation has been the
 hallmark and legacy of Stevens’ education and research programs. Its students collaborate with
 more than 350 faculty members in an interdisciplinary, entrepreneurial environment to advance
 the frontiers of science and leverage technology to confront global challenges. Stevens is home
 to three national research centers, as well as joint research programs focused on critical industries
 such as homeland security, healthcare, energy, finance, defense and STEM education.
 The Stevens team that will be contributing to this project has developed several systems for
 passive acoustic detection of surface, underwater, and airborne targets for the Federal
 Government, including the Office of Naval Research, the Naval Underwater Warfare Center,
 DARPA, the Air Force Research Lab, the Department of Homeland Security (Science and
 Technology, Customs and Border Protection, US Coast Guard, and Immigration and Customs
 Enforcement), and the US Army. The team members conducted several field and operational
 tests and received two patents for an acoustic method of underwater threat detection and for the
 detection of Low Flying Aircraft. In addition to the acoustic system for Low Flying Aircraft, the
 Stevens team developed a UAS detection, tracking and classification system. The team will use
 their extensive knowledge and experience gained in sensors, visualization tools, and algorithms
 for the execution of this project.
 The following list provides a selected set of Stevens key personnel that will contribute to the
 proposed project. Additional team members (Research and Senior Research Engineers) will be
 supporting this effort.
 Dr. Hady Salloum (Principal Investigator) is Professor, Director of the DHS Center of Excellence
 for Maritime Security, and founding Director of the Sensor Technology and Applied Research
 (STAR) Center. Professor Salloum has been leading key border and maritime security initiatives,
 including the DHS Center, Integrated Maritime Security Sensing using acoustics, radar, and IR
 sensors, Information Security, and other DoD and DHS projects. He has over 30 years of
 experience in industry and academia, running large-scale, complex research and development
 projects. He has directed large and complex maritime and border security experiments and field
 tests in intruder detection involving acoustics, infrared, video, satellite systems, maritime radar,
 and environmental sensing. He was the PI for numerous DHS, DoD and private company funded
 projects and will use his experience in the execution of this project. Dr. Salloum will be
 responsible for defining and leading the project for this effort, including the direction of required
 experiments, organization and building of the prototype, interaction with the Sponsor, report
 writing and presentations.

 SIT_IMG_SR Agmt SOW_2020 0923_v5 docx                                                          8 of 11
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 24 of 30 PageID: 36
                                  Stevens Institute of Technology
                                         STATEMENT OF WORK
                    Research for the Commercialization of the Passive Acoustic
                                 Underwater Intruder Detection System
 Dr. Alexander Sutin is a Research Professor in the Civil, Environmental, and Ocean Engineering
 Department of the Stevens Institute of Technology. Dr. Sutin has many years of experience in
 physical and underwater acoustics and conducted a large number of experiments from crack
 detection and ultrasonic microscopy to detection, tracking and classification of large ships, small
 vessels, submersibles, divers, and aircraft. Dr. Sutin will provide the systems engineering and
 scientific support of this project. He will supervise the development of the algorithms and sensors.
 He will also conduct experiments, analyze the experimental results, and write the reports.
 Nikolay Sedunov is a Senior Research Engineer in the STAR Center at Stevens. He has over
 30 years of experience in research, development, and design in the field of electronics, radio, and
 microwave. His latest work includes the design and development of numerous Stevens acoustic
 capabilities including the patented SPADES (Stevens Passive Acoustic Detection System) and
 ASAD (Acousto-Seismic Air Detection) system. The Stevens system hardware for SPADES was
 completely designed and built by him. Before joining Stevens, he was Head of Electronics
 Laboratory, Radio-Physics Research Institute, Nizhny Novgorod, Russia, where he developed
 impulse radar and Doppler radar imaging systems for sea surface wave research and several
 sonar systems. Mr. Sedunov will be responsible for all hardware development connected with
 the project including hardware for the prototype.
 Dr. Alexander Sedunov is a Senior Research Engineer in the STAR Center at Stevens. He has
 developed principles and software for various Stevens systems including Stevens Passive
 Acoustic Detection System (SPADES) and Acousto-Seismic Air Detection (ASAD) system,
 Acoustic Air Detection (AAD) system, the Radar and Camera Integrated System, and the Portable
 Acoustic Recorder System (PARS). For these systems, he developed the software for both
 monostatic and multistatic sensors, from target detection to localization and tracking. He also
 developed distributed signal processing and data fusion software for wide area sensor networks
 deployed in remote areas with unreliable low-bandwidth wireless communication, as well as field
 calibration methods and software for rapid deployment of acoustic sensors, camera cueing to
 target tracks, creation of scalable systems and integration with third-party hardware and software.
 His outstanding skills in real-time digital signal processing, embedded system development, large-
 scale system integration and experience in conducting laboratory and field experiments will be
 applied for the development of software and integration with the MMODAL system.

 6   EQUIPMENT AND FACILITIES
 The Stevens STAR Center and the DHS Maritime Security Center or MSC have all equipment
 and facilities for the successful completion of the proposed work. They have more than 30 different
 hydrophones and STAR researchers are currently building custom made hydrophones that are
 expected to provide better sensitivity for a much lower cost than COTS hydrophones. The STAR
 Center has more than 20 various data acquisition systems and has developed and built a number
 of prototypes of underwater and airborne threat detection systems.
 The STAR Center also collected a large library of ship acoustic signatures using the SPADES
 alpha prototype that will be used in the suggested work.
 SPADES is based on the acquisition and analysis of sound generated by various threats; it does
 not radiate any sound itself. The current version of the system uses just four hydrophones and
 provides simultaneous acquisition and analysis of acoustical signals. The analysis function
 includes arbitrary digital filtering, spectral analysis and cross-correlation for simultaneous
 processing of signals from several hydrophones, acoustical source separation and determination
 of bearing for different targets relative to the central underwater mooring. The system also records

 SIT_IMG_SR Agmt SOW_2020 0923_v5 docx                                                         9 of 11
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 25 of 30 PageID: 37
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 26 of 30 PageID: 38
                                  Stevens Institute of Technology
                                         STATEMENT OF WORK
                 Research for the Commercialization of the Passive Acoustic
                              Underwater Intruder Detection System
 a. The private Sponsor will review all deliverables and give written feedback within two (2) weeks of
    receipt.
 b. The private Sponsor will make available staff to ensure efficient project management, testing and
    data collection.
 c. This project may require the parties to execute a Non-Disclosure Agreement (NDA) between SIT
    and the private Sponsor. If an NDA is required, the parties may negotiate and execute an NDA
    relative to this project and acknowledge that the process for putting the NDA in place may impact
    the timeline for work performance. No additional NDAs with outside parties are anticipated to be
    required.
 d. Tasks that require additional specification of scope, budget, and/or schedule based on the
    outcomes of a previous task may not start until the previous task is completed based on the
    discretion of both parties
 e. Some tasks may require recruitment of additional personnel and additional necessary resources.
    SIT and the private Sponsor will use reasonable efforts to identify such resources within a
    reasonable period of time. The private Sponsor acknowledges that the timing of tasks and
    deliverables is dependent on partner cooperation may need to be adjusted.




 SIT_IMG_SR Agmt SOW_2020 0923_v5 docx                                                        11 of 11
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 27 of 30 PageID: 39




                             Stevens Institute of Technology
                                 - - - EXHIBIT B - - -
                            BUDGET JUSTIFICATION
                                               FOR
     Research for the Commercialization of the Passive Acoustic
              Underwater Intruder Detection System
                           SPONSORED RESEARCH AGREEMENT

                                       PI: Hady Salloum

 Stevens Institute of Technology is requesting funding for the proposal titled “Research for the
 Commercialization of the Passive Acoustic Underwater Intruder Detection System” from
 October 1, 2020 to March 31, 2022 for the time period of 18 months. Salary amounts are based
 on actual salary and include a 3% annual cost-of-living increase for faculty, staff, part time
 employees and post docs, and 2% annual increase for undergraduate students and graduate
 students.

 PERSONNEL COSTS
 The definition of a year is based on Stevens Institute of Technology’s fiscal year which ends
 June 30.

 KEY PERSONNEL:
 Dr. Salloum, Director of the STAR Center is the PI on the project at Stevens Institute of
 Technology and will direct the research and all related activities. Dr. Salloum (36% AY effort +
 2.5 summer months) will be assisted by Professor Sutin (82% AY effort + 2.5 summer months),
 Dr. Alexander Sedunov (98% effort), Mr. Nikolay Sedunov (98% effort), as well as a number of
 Research and Senior Research Engineers (5 at 98%, 1 at 18% effort). In addition, Dr. Barry
 Bunin will assist on a part time basis.
 Total Salaries and Wages Requested: $1,528,043

 FRINGE BENEFITS:
 Annual negotiations with the Office of Naval Research (ONR) result in fixed rates for Employee
 Benefits covering the period July 1 - June 30. The fringe benefit rate for full time faculty and
 other professionals is 26.2%. Fringe benefit rates for part-time employees are 8.1%.
 Total Fringe Benefits: $373,197


 NON-PERSONNEL COSTS

 LAB MATERIALS AND SUPPLIES:
 Funds of $168,237 are requested for the small, expendable materials and supplies that must be
 purchased to accomplish the stated research objectives. These include the following:
 SIT_IMG_SR-Agmt-SPADES_Budget-Justfctn_2020-0923[26887]                                     1 of 4
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 28 of 30 PageID: 40
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 29 of 30 PageID: 41
Case 2:22-cv-04411-JXN-JBC Document 1-1 Filed 07/05/22 Page 30 of 30 PageID: 42
